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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT BLUEFIELD

UNITED STATES OF AMERICA

v.                                       CRIMINAL NO. 1:10-cr-00185-09

MICHAEL MEADE



                      MEMORANDUM OPINION AND ORDER

     In Bluefield, on March 30, 2011, came the defendant, Michael

Meade, in person and by counsel, Matthew A. Victor; came the

United States by Miller A. Bushong, III, Assistant United States

Attorney; and came the United States Probation Officer Brett S.

Taylor, for a hearing on the petition to revoke the defendant's

bond.

     The court informed the defendant of the alleged violations

contained in the petition to revoke his bond, filed on March 23,

2011.   The court advised the defendant that he had the right to a

hearing and assistance of counsel before his bond could be

revoked.   Defendant did not contest the factual allegations set

forth in the March 23, 2011 petition.          Accordingly, the Court

found that there was clear and convincing evidence that (a) Mr.

Meade had received a traffic citation for speeding (80 mph in a

55 mph zone) on February 18, 2011 in Mercer County, West

Virginia; and (b) that he had used morphine, suboxone and heroin,

all in violation of his release conditions.

     After giving the United States, the defendant, and his


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attorney an opportunity to address the court, the court found

that, based on the factors as set forth in 18 USC § 3142(g),

there existed no condition or combination of conditions of

release that would assure that the defendant would not flee or

pose a danger to the safety of any other person or the community.

Having so found, the court revoked the defendant’s bond.               The

court based its decision on the fact that Mr. Meade is an active

participant (as a consumer) of the drug trade in Mercer County,

West Virginia, and therefore a threat to the community.
Accordingly, the defendant is to remain in custody pending his

sentencing hearing on June 20, 2011 before this court.

     The court directs that, to ensure Mr. Meade’s safety, he not

be housed in a facility with other defendants in cases 1:10-cr-

00185 or 1:10-cr-00186.

     The defendant was informed of his right to appeal the

court's revocation of his bond within fourteen (14) days.               The

defendant was further informed that in order to initiate such an

appeal, a Notice of Appeal must be filed in this court.               The

defendant was advised that if he wishes to appeal and cannot
afford to hire counsel to represent him on appeal, the court will

appoint counsel for him.      The defendant was further advised that

if he so requests, the Clerk of Court will prepare and file a

Notice of Appeal on his behalf.

     The defendant was remanded to the custody of the United

States Marshals Service.

     The Clerk is directed to forward a copy of this Memorandum


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Opinion and Order to counsel of record, the United States Marshal

for the Southern District of West Virginia, and the Probation

Department of this court.

     It is SO ORDERED this 31st day of March, 2011.

                                     ENTER:


                                     David A. Faber
                                     Senior United States District Judge




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